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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                          *

       v.                                         *

SOLOTHAL THOMAS                                   *           Criminal No.: CCB-04-232

       Petitioner.                                *

                                               ...oOo...

                GOVERNMENT’S MOTION TO DISMISS PETITIONER’S
                 MOTION TO VACATE PURSUANT TO 28 U.S.C. § 2255

       The United States of America, through its attorneys, Rod J. Rosenstein, United States

Attorney for the District of Maryland, and Debra L. Dwyer, Assistant United States Attorney,

respectfully submits this Motion to Dismiss Petitioner’s Motion to Vacate Pursuant to 28 U.S.C.

§ 2255. The Petitioner is pro se. The government submits the Petitioner’s motion should be

denied and in support, states the following:

       1.      On June 28, 2016, Petitioner filed a Motion Under 28 U.S.C. § 2244 For Order

               Authorizing District Court to Consider Second or Successive Application for

               Relief under 28 U.S.C. §§ 2254 or 2255 in the United States Court of Appeals for

               the Fourth Circuit (In re Thomas, No. 16-9743).

       2.      On July 6, 2016, the Fourth Circuit granted authorization for Petitioner to file a

               second or successive § 2255 motion (ECF 326).

       3.      Also on July 6, 2016, Petitioner filed a Motion pursuant to 28 U.S.C. § 2255 to

               Vacate, Set Aside, or Correct a Sentence by a Person in Federal Custody (ECF

               327).

       4.      In his motion, Petitioner claims that he is entitled to relief pursuant to the decision
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              in Johnson v. United States, 135 S.Ct. 2551 (2015).

       5.     Pursuant to 28 U.S.C. § 2255(f)(3), a 1-year statute of limitations runs from “the

              date on which the right asserted was initially recognized by the Supreme Court.”

       6.     The Supreme Court issued its opinion in Johnson on June 26, 2015.

       7.     Therefore, the deadline for § 2255 Motions filed under Johnson was June 26,

              2016.

       8.     Petitioner’s Motion for Authorization was not filed with the Fourth Circuit until

              June 28, 2016. Petitioner’s Motion to Vacate was not filed with the District Court

              until July 6, 2016. Both motions were filed after June 26, 2016.

       9.     Accordingly, Petitioner’s Motion is untimely and should be dismissed.

                                           CONCLUSION

       For the reasons stated herein, the government respectfully requests that this Court

DISMISS Petitioner’s motion with prejudice. In the event the Court does reach the merits of

Petitioner’s pending petition, the government respectfully requests an opportunity to submit

briefing opposing his claims.

                                                          Rod J. Rosenstein
                                                          United States Attorney


                                                   By:    ________/s/_________________
                                                          Debra L. Dwyer
                                                          Assistant United States Attorney
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                      CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing Motion was mailed to:

Solothal Thomas, #41347-037
Big Sandy USP
P.O. Box 2068
Inez, KY 41224


                                        ________/s/_________________
                                        Debra L. Dwyer
                                        Assistant United States Attorney
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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                     *

      v.                                     *

SOLOTHAL THOMAS                              *            Criminal No.: CCB-04-232

      Petitioner.                            *


                                         ORDER

      Upon motion of the Government, and for the reasons stated in said motion, it is hereby

ORDERED this _____ day of ____________, 2016, the Petitioner’s Motion to Vacate Pursuant

to 28 U.S.C. § 2255 is hereby DISMISSED with prejudice.



                                                 _________________________________
                                                 The Honorable Catherine C. Blake
                                                 Chief Judge, United States District Court
